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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION



CARISSA WESTER,                                Case No. 1:18-CV-00004-MW-GRJ

 Plaintiff,

v.

SHURGOOD ENTERPRISES, INC.

 Defendant.
____________________________________

              DEFENDANT’S MOTION FOR ORDER
            REFERRING THE PARTIES TO ATTEND A
     SETTLEMENT CONFERENCE BEFORE A MAGISTRATE JUDGE

              Defendant, Shurgood Enterprises, Inc. (“Defendant”), by and through

 its undersigned counsel, files this Motion for an Order Referring the Parties to Attend

 a Settlement Conference before a Magistrate Judge and in support hereof states:

       1.     On January 29, 2018, the Court issued its Initial Scheduling Order

 (Doc. 6) ordering the Parties to discuss additional matters during the Rule 26(f)

 conference, including “[t]he possibility for prompt settlement or resolution of the

 case, and whether mediation … might be helpful in settlement.”

       2.     After the Parties held the Rule 26(f) conference and filed the Joint

 Scheduling Report, the Court issued its Scheduling and Mediation Order on March
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15, 2018. See Doc. 10. In the Scheduling and Mediation Order, the Court Ordered

the Parties to mediate Plaintiff’s claims. Id.

       3.     In the Scheduling and Mediation Order, the Court further ordered the

attorneys for each party to “consult with [their clients] about the advantages

(including savings of costs and attorney’s fees) and disadvantages of proceeding

with mediation immediately rather than awaiting the deadlines set in this order.” See

Doc. 10. The Court advised that “[o]n a party’s motion, the court will consider

ordering that mediation commence immediately or at a time earlier than required by

this order.” See id.

       4.     Since Plaintiff’s Complaint was filed, the Parties have engaged in

attempts to reach resolution. Included in those attempts have been discussions

between counsel regarding the benefits of early mediation, specifically, by

settlement conference. The undersigned has likewise had these discussions with

Defendant, who agrees that an early settlement conference, without the time and

expense of full discovery, will benefit the Parties, in light of the narrow scope of

issues present in this litigation.

       5.     Defendant continues to assert that Plaintiff was its only manager on

duty at its small diner, performed exempt duties, and received compensation that met

the salary-basis test under the FLSA, exempting Plaintiff from the FLSA’s minimum




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wage and overtime requirements. However, the universe of damages and facts at

issue are relatively limited, regardless of which Party’s position is accepted as true.

      6.     In light of the foregoing, Defendant believes an early settlement

conference conducted by a federal magistrate judge will be beneficial to the Parties’

settlement efforts, either by prompting faster pre-conference negotiations, or by

affording the Parties the opportunity to sit at the same table, which will potentially

result in early resolution.

      7.     Defendant, therefore, requests that a settlement conference be ordered

to avoid the Parties incurring the time and expense associated with litigation.

      8.     The undersigned has conferred with counsel for Plaintiff regarding the

benefits of an early settlement conference; however, Plaintiff opposes the Motion on

the grounds that Plaintiff believes a settlement conference will increase the Parties’

fees and costs, and also believes that the litigation can be resolved without same.

      WHEREFORE, Defendant respectfully requests that this Court enter an Order

referring the Parties to a settlement conference before a Magistrate Judge.

     LOCAL RULE 7.1 CERTIFICATE OF ATTORNEY CONFERRAL

      Pursuant to Local Rule 7.1, the undersigned movant hereby certifies that he

conferred with Plaintiff’s counsel in a good faith effort to resolve the issues

presented in this Motion, yet was unable to resolve the issues without Court




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intervention. Specifically, Plaintiff believes the Parties can resolve this litigation

without a settlement conference, and any fees or costs associated with same.

            LOCAL RULE 7.1(F) WORD LIMIT CERTIFICATE

      The undersigned hereby certifies that this Motion has a word count of 736

words and does not exceed the word limit of 8,000 words.

      DATED this 2nd day of April, 2018.

                                              Respectfully submitted,

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                              CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on the 2nd day of April, 2018, the foregoing
has been filed via CM/ECF and electronic notification served on the following:

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                                           /s/ B. Tyler White
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4814-3700-5664, v. 1




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